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 7   Proposed Counsel for Debtor
     and Debtor-in-Possession GPMI, Co.
 8
                           IN THE UNITED STATES BANKRUPTCY COURT
 9
                                        FOR THE DISTRICT OF ARIZONA
10
        In re:                                            Chapter 11
11
        GPMI, CO., an Arizona corporation,                Case No. 2:22-bk-00150-EPB
12
        EIN XX-XXXXXXX
13
                                        Debtor.
14

15

16                         DEBTOR’S EMERGENCY MOTION FOR
                 ENTRY OF INTERIM AND FINAL ORDERS (I) AUTHORIZING
17           DEBTOR TO (A) OBTAIN POSTPETITION FACTORING AND FINANCING
                AND (B) UTILIZE CASH COLLATERAL, (II) GRANTING LIENS
18
                 AND SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS,
19              (III) GRANTING ADEQUATE PROTECTION, (IV) SCHEDULING
                  A FINAL HEARING, AND (V) GRANTING RELATED RELIEF
20

21          GPMI Co. (“Debtor”), debtor and debtor-in-possession in the above-captioned
22   reorganization case (the “Case”), by and through counsel undersigned, moves this Court for
23   entry of an interim and a final order under 11 U.S.C. §§ 105(a), 361, 362, 363, 364, 507(b),
24   Rules 2002, 4001(c) and 9014 of the Federal Rules of Bankruptcy Procedure, and Rule 4001-4
25   Local Rules of Bankruptcy Procedure for the District of Arizona, authorizing Debtor to obtain
26

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 1   secured post-petition financing from FSW Funding (“FSW”) as lead lender (collectively1 the
 2   “DIP Lender”), and authorizing the limited use of cash collateral and grant of adequate
 3   protection as proposed hereunder.
 4          The following information is provided in compliance with Bankruptcy Rule
 5   4001(b)(1)(B) and Local Rule 4001-4:
 6          • DIP Lender will provide a senior secured and junior secured (with respect to certain
 7              Prepetition Preserved Collateral as defined below) super-priority debtor-in-
 8              possession credit facility in an aggregate principal amount not to exceed $2.5 million
 9              comprised of an accounts receivable factoring facility (the “A/R Facility”) of up to
10              $2.0 million (the “Factoring Commitment”), and an inventory credit facility (the
11              “Inventory Facility”) of up to $500,000 (the “Inventory Commitment”).                   In
12              addition, during the Interim Period only (defined below) DIP Lender has agreed to
13              advance additional up to 95% of cash in Debtor’s deposit accounts that may be
14              temporarily inaccessible by Debtor during the early stages of this Case (the “Interim
15              Advance Facility” and together with the A/R Facility and Inventory Facility, the
16              “DIP Facility” or “DIP Loan”).
17          • Debtor’s accounts receivable shall be factored at an advance rate of 85% up to the
18              approved Factoring Commitment. Interest on the Inventory Credit Facility shall
19              accrue at a rate of eighteen and one-half percent (18.5%) per annum (the “Interest
20              Rate”).
21          • DIP Lender will be granted a first priority position lien and security interest in all of
22              the DIP Collateral and a junior priority lien on the Prepetition Preserved Collateral.
23          • Pursuant to Bankruptcy Code § 364(c), DIP Lender will be granted super-priority
24              administrative expense status, with respect to the obligations under such post-petition
25              financing, with priority over any and all administrative expenses of the kinds
26
     1
27          FSW Funding is acting as the lead DIP Lender with financial participation of third party lender
     Lancelot Holdings, LLC.


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 1             specified in Bankruptcy Code §§ 503(b), 507(b) and 546(c), except for the carve-out
 2             for Debtor’s professionals (the “Carve-Out”) as further described in the proposed
 3             interim order attached as “Exhibit A” (“Interim Order”).
 4          • Interim approval of the DIP Facility is being sought for the period between the
 5             emergency hearing requested and the final hearing on this Motion (the “Interim
 6             Period”).
 7          • Debtor does not propose to grant liens or security interests against rights and actions
 8             arising under Code §§ 544, 545, 547, or 548.
 9          • Debtor does not propose to use proceeds from the post-petition financing to pay pre-
10             petition secured debt.
11          • Pursuant to the proposed post-petition financing, DIP Lender will be granted first
12             priority liens and security interests (subject only to any prior, perfected, unavoidable
13             liens securing existing liabilities having priority under applicable law) in all of the
14             DIP Collateral, as defined below.
15          This Motion seeks immediate entry of an interim order granting the Motion and is
16   brought on an emergency basis on expedited notice under Local Bankruptcy Rule 9013-1(h) to
17   avoid immediate and irreparable harm to Debtor’s estate. Debtor is in the business of
18   manufacturing cleaning “wipes” and employs 49 employees. The relief requested is crucial to
19   preserving Debtor’s going concern and continuing its ordinary course business.
20          As described in the accompanying Declaration of Yarron Bendor in Support of Debtor’s
21   Chapter 11 Petitions and First Day Motions (the “Bendor Declaration”), 2 Debtor seeks
22   approval of the $2.5 million DIP Facility from DIP Lender and the limited use of Cash
23   Collateral otherwise subject to the liens and claims of Debtor’s Blanket Lien Creditors (as
24   defined below) pursuant to the Budget.
25

26
     2
27          Capitalized terms not defined herein shall have the meanings ascribed to them in the Bendor
     Declaration.


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 1           First-priority liens will be granted to the DIP Lender on substantially all of Debtor’s
 2   unencumbered assets including, without limitation: (a) those additional assets with respect to
 3   which Debtor’s Blanket Lien Creditors have agreed to subordinate their liens and allow the DIP
 4   Lender to prime their otherwise senior liens, and (b) certain claims asserted by Debtor in
 5   pending, prepetition litigation against Michelin North America et. al., and potential causes of
 6   action held by Debtor against Albaad, Inc. (collectively, the “DIP Collateral”). In addition,
 7   junior priority liens will be granted to the DIP Lender on all of Debtor’s other assets (primarily
 8   Debtor’s leased equipment) that remain subject to Prepetition Lien Creditor (defined below)
 9   claims (the “Prepetition Preserved Collateral”). Debtor will also provide adequate protection
10   to its Blanket Lien Creditors as set forth herein in the DIP Orders (defined below).
11           If approved, Debtor will use cash collateral and the proceeds of the DIP Loan to continue
12   operations and meeting customer orders, honor employee wages and benefits, procure goods
13   and services, fund general and corporate operating needs and the administration of this Case,
14   and other ordinary course expenses all in accordance with the Budget.
15           For the reasons set forth hereinafter and in the Bendor Declaration, Debtor believes that
16   approval of the DIP Loan is appropriate, is a sound exercise of business judgment, and will
17   maximize the value of Debtor’s estate for the benefit of all stakeholders. Debtor respectfully
18   requests that the Court approve the relief requested herein, and enter the Interim Order on an
19   emergency basis, to be followed by entry of a final order (the “Final Order,” and together with
20   the Interim Order, the “DIP Orders”) at the final hearing on this Motion.
21           In further support of this Motion, Debtor states as follows:
22                                           JURISDICTION
23           1.     On January 10, 2022 (the “Petition Date”), Debtor filed a voluntary petition for
24   relief under chapter 11 of title 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101, et
25   seq. (the “Bankruptcy Code”). Debtor continues to operate its business and manage its
26   property as debtor-in-possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy
27   Code.


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 1          2.     An Official Committee of Unsecured Creditors has not yet been appointed.
 2          3.     This Court has jurisdiction over this Case and this matter pursuant to 28 U.S.C.
 3   §§ 157 and 1334. This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A).
 4   Venue is proper in this district pursuant to 28 U.S.C. § 1409(a).
 5          4.     The statutory predicates for the relief requested are Bankruptcy Code §§ 105,
 6   361, 362, 363, 364 and 507, Bankruptcy Rules 2002 and 4001, and Local Rule 4001-4.
 7                                   FACTUAL BACKGROUND
 8          1.     A full recitation of the facts and circumstances surrounding this Case is set forth
 9   in the Bendor Declaration filed contemporaneously herewith and incorporated herein by this
10   reference.
11          2.     As of the Petition Date, Debtor had total assets (at book value) of approximately
12   $15,244,393 consisting of: (i) cash of $84,989.36 (ii) accounts receivable of $1,536,556, (iii)
13   inventory of $426,170, (iv) raw materials and work in progress of $1,497,861, (v) personal
14   property and equipment of $9,951,321, and (vi) leasehold real property interest of $2,007,827.
15   More detailed information concerning the assets, liabilities, and financial condition of Debtor
16   may be found in the statement of financial affairs and schedules filed by Debtor.
17          3.     Although Debtor continues to operate and has excellent business prospects going
18   forward, Debtor has suffered significant financial setbacks resulting from the breach by Albaad
19   of certain contractual obligations that within the last nine months have severely impacted
20   Debtor’s working capital and caused mounting accounts payable. These conditions rendered
21   impracticable satisfying Debtor’s need for additional working capital financing outside of
22   chapter 11. Without working capital financing, Debtor is in jeopardy of running out of cash in
23   the short term. Debtor therefore secured the present commitment for the proposed DIP Loan in
24   contemplation of this Case.
25          4.     The DIP Loan, if approved and obtained, should be sufficient to allow Debtor to
26   continue to operate and restructure its obligations through a confirmed plan of reorganization.
27



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 1                       FACTS PERTINENT TO THE RELIEF REQUESTED
 2         5.        Debtor operates a manufacturing operation in Gilbert, Arizona. It employs 49
 3   employees and has been in business for over 20 years. Debtor’s assets are primarily comprised
 4   of personal property in the form of cash, accounts receivable, equipment and machinery, raw
 5   materials, work in process, and inventory (the “Collateral”).
 6         6.        As of the Petition Date, Debtor had outstanding obligations to the following
 7   creditors that have recorded UCC-1 Financing Statements and assert liens on certain equipment
 8   Collateral (the “Equipment Lien Creditors”):
 9                a. NFS Leasing, Inc. (“NFS”) is an equipment lessor that will assert a security
10                   interest in certain equipment being leased to Debtor, which security interest is
11                   limited to the equipment described in the series of UCC-1 financing statements
12                   filed with the Arizona Secretary of State (the “NFS Leased Collateral”).
13                b. International Financial Services Corporation will assert a security interest in
14                   certain equipment being leased by them to Debtor, which security interest is
15                   limited to the equipment described in the series of UCC-1 financing statements
16                   filed with the Arizona Secretary of State (the “IFS Collateral”).
17                c. HYG Financial Services, Inc. will assert a security interest in certain equipment
18                   being leased by them to Debtor, which security interest is limited to the
19                   equipment described in the UCC-1 financing statements filed with the Arizona
20                   Secretary of State (the “HYG Collateral”).
21         7.        The Collateral encumbered by the Equipment Lien Creditors shall be collectively
22   described as the “Equipment Collateral.”
23         8.        Upon information and belief, four of Debtor’s creditors have filed UCC-1s
24   asserting blanket security interests in all of GPMI’s assets (the “Blanket Lien Creditors”),
25   including:
26                a. NFS is an Equipment Creditor that leases certain equipment to Debtor but whose
27                   practice is to file a blanket UCC-1 lien on all assets of its lessees pending delivery


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 1                 and acceptance of equipment that later become subject to leases. The subsequent
 2                 agreements evidencing its equipment leases only provide for a lien and security
 3                 interest as to the specific equipment actually leased or financed. Accordingly,
 4                 despite having filed a blanket lien form UCC-1, on information and belief, NFS
 5                 does not assert a security interest beyond a first priority lien on the specific lease
 6                 equipment constituting the NFS Leased Collateral.
 7              b. FSW Funding (“FSW”), under its prepetition factoring agreements with Debtor,
 8                 purchased certain accounts receivable from Debtor and separately collected the
 9                 accounts directly from the account debtor.           FSW’s prepetition factoring
10                 agreements provided for a blanket security interest in all of Debtor’s assets in
11                 order to secure repayment of factored accounts receivable. As a result, FSW filed
12                 a UCC-1 with the state of Arizona indicating that it holds a security interest in
13                 “all assets now owned or hereafter acquired.”
14              c. Jack Gantz Irrevocable Trust No. 2 (“Gantz Trust”) is a prepetition lender
15                 that has loaned money to and made advances on behalf of Debtor secured by
16                 certain assets (primarily accounts and inventory) of Debtor. Gantz Trust is
17                 affiliated with Joe Gantz, a long time investor in and Director of the Debtor.
18                 Gantz Trust has filed a UCC-1 financing statement with the Arizona Secretary of
19                 State asserting a security interest in substantially all of Debtor’s Collateral. On
20                 information and belief, Gantz Trust does not object to the grant of a priming lien
21                 to DIP Lender as proposed herein.
22              d. IOU is a prepetition cash flow lender that provided financing to Debtor.
23                 Although its loan agreements provided for security in the assets of Debtor, IOU
24                 did not perfect its lien by any means until it filed a UCC-1 financing statement
25                 with the Arizona Secretary of State on the eve of this Case.
26         9.      The Blanket Lien Creditors and together with the Equipment Creditors, (the
27   “Prepetition Lien Creditors”).


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 1           10.   As described in the Bendor Declaration, Debtor requires immediate access to
 2   Cash Collateral and financing under the DIP Loan to ensure it is able to continue operating
 3   during this Case and preserve the value of the estate for the benefit of all parties in interest.
 4   Without immediate postpetition financing and access to Cash Collateral, Debtor will be unable
 5   to pay wages to its employees, pay vendors for equipment and services, meet its commitments
 6   to customers, meet working capital and business operating needs, preserve and maximize the
 7   value of the estates, and administer this Case, causing immediate and irreparable harm to the
 8   value of Debtor’s estate to the detriment of all stakeholders. Moreover, sufficient post-petition
 9   financing is necessary to send a strong market signal that Debtor is well-funded and capable of
10   operating without disruption through the confirmation of its plan of reorganization.
11           11.   As set forth in the Budget, to ensure such liquidity, Debtor seeks authorization to
12   utilize cash collateral and draw $810,954 from the DIP Loan, on an interim basis, and an
13   aggregate of up to $2.5 million from the DIP Loan on a final basis upon entry of the Final Order.
14   Debtor believes the DIP Loan is essential to preserve and maximize the value of the estate, and
15   responsibly administer this Case.
16           12.   MCA Advisors and its principal Morrie Aaron (“MCA”) were retained by Debtor
17   in the fall of 2021 to assist with the restructuring effort, explore financing and sale options, and
18   provide related necessary services. To that end, during the term of its engagement, MCA
19   contacted and solicited third parties to provide DIP Loan. Approximately 9 potential lending
20   sources were contacted prior to the Petition Date. To date, none have expressed an interest in
21   providing DIP Loan on better terms than those offered by DIP Lender.
22           13.   Debtor has determined that the proposed DIP Loan is the best financing
23   alternative available under the circumstances because it provides sufficient financing to meet
24   Debtor’s proposed liquidity needs on the best available terms through the confirmation of a
25   plan.
26           14.   The proposed DIP Loan is the product of good faith negotiations conducted at
27   arm’s-length. The terms of the DIP Loan are fair, reasonable and appropriate under the


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 1   circumstances and are in accordance with or below current market terms. And, further, that
 2   entry into the DIP Loan is an exercise of sound business judgment, and necessary to avoid
 3   irreparable harm during the course of this Case.
 4                                      RELIEF REQUESTED
 5          15.    Debtor does not have sufficient available sources of working capital to operate its
 6   businesses without working DIP Loan. Based on Debtor’s consolidated 13-week cash budget
 7   (the “Budget”), Debtor likely will run out of cash in the short term causing immediate and
 8   irreparable harm to Debtor and its estate.
 9          16.    With the assistance of MCA, Debtor has been actively seeking working capital
10   financing for several months to assist the company through its financial struggles.
11          17.    As discussed above, Debtor has been unable to obtain working capital financing
12   outside of chapter 11. Thus, Debtor requests the following relief:
13          USE OF CASH COLLATERAL
14          18.    Because of its prepetition factoring arrangements with FSW, Debtor has limited
15   cash collateral. Nonetheless, because of the blanket liens recorded by the Blanket Lien
16   Creditors, Debtor seeks authority to use the limited cash collateral as necessary to support the
17   Budget.
18          19.    To the extent any of the Blanket Lien Creditors have an interest in Debtor’s cash
19   collateral, they will have either consented to Debtor’s use of cash collateral or otherwise be
20   adequately protected by the ongoing payments proposed (as to the Equipment Creditors) and
21   the continuation of Debtor’s business operations and the preservation of the going concern
22   value of Debtor’s assets.
23          APPROVAL OF DIP LOAN TERMS
24          20.    Prepetition Debtor and DIP Lender agreed to a Factoring and Security
25   Agreement, Addendums A and B thereto, and a Loan and Security Agreement (collectively, the
26   “DIP Loan Documents”), pursuant to which Lender has agreed to provide up to $2.5 million
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 1   of debtor-in-possession financing to Debtor. Copies of the DIP Loan Documents are attached
 2   to the Interim Order as Exhibit 1. The primary terms of the DIP Facility are as follows:
 3                A.     Maximum DIP Loan Amount: $2.5 million available through two facilities
 4         (i) the A/R Facility in the maximum amount of $2.0 million, pursuant to which DIP
 5         Lender shall factor Debtor’s accounts receivable on an ongoing basis and (ii) the
 6         Inventory Facility pursuant to which DIP Lender will make a revolving line of credit
 7         available up to the maximum lesser amount of $500,000 or 50% of the outstanding
 8         accounts receivable factored under the A/R Facility.
 9                B.     Use of Proceeds: Borrowers shall use the proceeds of the DIP Loan for
10         (a) working capital; (b) for payment of (i) costs of administration of the Case, and (ii) the
11         fees and expenses described under the DIP Loan Documents; and (c) such Pre-Petition
12         obligations as the Bankruptcy Court shall approve, in each case in a manner consistent
13         with the terms and conditions of the Interim Order and Final Order.
14                C.     Collateral: all real and personal property of Debtor with a first position
15         priority lien on all of Debtor’s Collateral other than the Prepetition Preserved Collateral
16         and a junior priority lien on all Prepetition Preserved Collateral. In addition, a super-
17         priority administrative expense claim pursuant to 11 U.S.C. § 364(c) and (d). The
18         collateral, liens, and super-priority administrative claim are subject to the Carve-Out for
19         Debtor’s professionals as provided in the Interim Order.
20                D.     Financing Rates:
21                       a. A/R Facility. An applicable factoring advance rate of 85%.
22                       b. Inventory Facility. Interest applicable at a rate of 18.5% with an
23                           increase to 20% while any event of default exists.
24                E.     Fees:
25                       a. A loan origination fee equal to one and one half percent (1.5%) of the
26                           DIP Facility.
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 1                        b. A factoring fee of 0.65% on any factored receivable outstanding for the
 2                            first fifteen (15) days that a financed invoice remains outstanding based
 3                            on the face amount of such invoice, and a subsequent fee in the same
 4                            amount for each fifteen (15) days thereafter until paid.
 5                        c. A $3,500 a month collateral monitoring fee.
 6                        d. Fees applicable to advances:
 7                                i. Wire Fee $30.00
 8                               ii. ACH Fee $5.00
 9                 F.     Term: The DIP Facility shall be a month-to-month arrangement terminable
10          by either party on 30 days’ notice.
11                 G.     Payments:
12                        a. Factoring Facility: Payments on the factoring facility will be made in
13                            the ordinary course as collected or otherwise swept from Debtor’s Cash
14                            Collateral Accounts upon payment by the account debtor. All fees
15                            accrued with respect to each factored invoice will be collected and
16                            applied and the net shall be released to Debtor at least twice each month
17                            as set forth in the DIP Loan Documents.
18                        b. Inventory Facility: Interest only payments on the Inventory Facility
19                            will be made on a monthly basis by Debtor and may be paid from net
20                            receipts otherwise due to Debtor under the Factoring Facility.
21          21.    The ability of Debtor to obtain working capital financing and liquidity through
22   the use of cash collateral and the proposed DIP Loan on an emergency basis is critically
23   important. As evidenced by the Budget, absent the requested financing, Debtor will have
24   insufficient cash to meet payroll, fill orders, and meet other operating expenses in the short term
25   making it impossible for Debtor to continue to operate.
26          22.    Debtor was unable to obtain financing outside of bankruptcy; has been unable to
27   obtain adequate unsecured credit allowable under section 503(b)(1) as an administrative


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 1   expense; and has been unable to obtain debtor-in-possession financing absent Debtor’s granting
 2   DIP Lender the liens described in the DIP Loan Documents.
 3          23.    The DIP Facility and DIP Loan Documents were negotiated in good faith and at
 4   arms-length by Debtor and DIP Lender. Under the circumstances, the terms of the DIP Facility
 5   are the most favorable terms available to Debtor, and are fair and reasonable.
 6          24.    The terms of the DIP Facility reflect Debtor’s exercise of prudent business
 7   judgment consistent with its fiduciary duties, and the liens to be granted in exchange for the
 8   financing are supported by reasonably equivalent value and fair consideration.
 9                                BASIS FOR RELIEF REQUESTED
10      A. USE OF CASH COLLATERAL
11          Section 363 of the Bankruptcy Code generally governs the use of estate property.
12   Section 363(c)(2)(A) of the Bankruptcy Code permits a debtor-in-possession to use Cash
13   Collateral with the consent of the secured party. Here, Debtor anticipates that the Blanket Lien
14   Creditors asserting an interest in cash collateral will consent to Debtor’s use of cash collateral,
15   subject to the terms and limitations set forth in the Interim Order.
16          Section 363(e) of the Bankruptcy Code provides for adequate protection of interests in
17   property when a debtor uses cash collateral. Further, § 362(d)(1) of the Bankruptcy Code
18   provides for adequate protection of interests in property due to the imposition of the automatic
19   stay. See In re Cont’l Airlines, 91 F.3d 553, 556 (3d Cir. 1996) (en banc). While section 361
20   of the Bankruptcy Code provides examples of forms of adequate protection, such as granting
21   replacement liens and administrative claims, courts decide what constitutes sufficient adequate
22   protection on a case-by-case basis. See, e.g., In re First South Sav. Ass’n, 820 F.2d 700, 710
23   (5th Cir. 1987) (explaining that adequate protection depends on the facts and circumstances of
24   the case); In re Las Torres Dev., LLC, 413 B.R. 687, 697 (Bankr. S.D. Tex. 2009) (“[I]n
25   determining whether a secured creditor’s interest is adequately protected, most courts engage
26   in an analysis of the property’s ‘equity cushion’—the value of the property after deducting the
27   claim of the creditor seeking relief from the automatic stay and all senior claims.”) (internal


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 1   quotes and citations omitted); see also In re Dynaco Corp., 162 B.R. 389, 394 (Bankr. D.N.H.
 2   1993) (citing 2 Collier on Bankruptcy ¶ 361.01[1] at 361–66 (15th ed. 1993) (explaining that
 3   adequate protection can take many forms and “must be determined based upon equitable
 4   considerations arising from the particular facts of each proceeding”)). The concept of adequate
 5   protection is designed to shield a secured creditor from diminution in the value of its interest in
 6   collateral during the period of a debtor’s use. See In re Carbone Cos., 395 B.R. 631, 635 (Bankr.
 7   N.D. Ohio 2008) (“The test is whether the secured party’s interest is protected from diminution
 8   or decrease as a result of the proposed use of cash collateral.”); see also In re Cont’l Airlines,
 9   Inc., 154 B.R. 176, 180—81 (Bankr. D. Del. 1993) (holding that adequate protection for use of
10   collateral under section 363 of the Bankruptcy Code is limited to use-based decline in value).
11          Debtor proposes to provide the Equipment Creditors with ongoing payments as
12   identified in the Budget as adequate protection to avoid any postpetition diminution in value of
13   their collateral, if any, including cash collateral, resulting from the use, sale, or lease of such
14   collateral   by   Debtor    and   the   imposition    of   the    automatic    stay   (collectively,
15   the “Adequate Protection Obligations”).
16          1.     Debtor submits that the proposed Adequate Protection Obligations are sufficient
17   to protect the Blanket Lien Creditors from any potential diminution in value to Cash Collateral.
18   In light of the foregoing, Debtor further submits, that the proposed Adequate Protection
19   Obligations to be provided for the benefit of the Blanket Lien Creditors are appropriate. Thus,
20   Debtor’s provision of the Adequate Protection Obligations is not only necessary to protect
21   against any diminution in value but is fair and appropriate under the circumstances of this
22   chapter 11 case to ensure Debtor is able to continue using Cash Collateral, subject to the terms
23   and limitations set forth in the Interim Order, for the benefit of all parties in interest and their
24   estates.
25      B. APPROVAL OF DIP LOAN
26          The Bankruptcy Code authorizes a debtor-in-possession to obtain financing postpetition
27   pursuant to § 364. This section permits the Court, after notice and hearing, to authorize a debtor


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 1   to obtain credit or the incurring of debt with priority over all other allowed administrative claims
 2   and secured by a first priority senior lien on all property of the estate, including any property
 3   that is subject to an existing lien, if Debtor is unable to obtain such credit otherwise, and the
 4   interests of any existing secured creditors are adequately protected. In this regard § 364 provides
 5   in relevant part as follows:
 6          (d)(1) The court, after notice and a hearing, may authorize the obtaining of credit
            or the incurring of debt secured by a senior or equal lien on property of the estate
 7
            that is subject to a lien only if—
 8
            (A) the trustee is unable to obtain such credit otherwise; and
 9          (B) there is adequate protection of the interest of the holder of the lien on the
            property of the estate on which such senior or equal lien is proposed to be granted.
10

11
            (2)    In any hearing under this subsection, the trustee has the burden of proof
            on the issue of adequate protection.
12

13   See 11 U.S.C. § 364(d).
14          Debtor has been unable to locate financing other than financing with priority over all
15   other allowed administrative claims and secured by a first priority senior lien on all property of
16   the estate. As a result, Debtor accepted DIP Lender’s proposal for post-petition financing
17   secured by a senior lien on substantially all of Debtor’s property and super-administrative
18   expense priority. In re Snowshoe Company, 789 F.2d 1085, 1088 (4th Cir. 1986) (the trustee
19   contacted other financial institutions in the immediate geographic areas and was unsuccessful
20   in obtaining unsecured credit); In re 495 Central Park Avenue Corp., 136 B.R. 626, 630-31
21   (Bankr. S.D.N.Y. 1992) (unsuccessful attempt to secure financing from other sources justified
22   senior priority loan under Bankruptcy Code §364); In re Ames Dept. Stores, Inc., 115 B.R. 34,
23   40 (Bankr. S.D.N.Y. 1990) (that debtors had contacted four lenders satisfied the requirements
24   of Bankruptcy Code §364 that debtors were unable to obtain comparable financing on an
25   unsecured basis).
26          In these circumstances, the Bankruptcy Code imposes no duty to seek credit from every
27   possible lender before concluding that such credit is unavailable. In re Snowshow Company,


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 1   789 F.2d at 1088. There are few lenders likely to be able or willing to extend the necessary
 2   credit to Debtor, it would be unrealistic and unnecessary to require Debtor to conduct an
 3   exhaustive search for financing. See In re Sky Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga.
 4   1988).
 5            As set forth above, and in the Bendor Declaration, in the months leading up to the
 6   Petition date, Debtor solicited proposals for financing. After appropriate investigation and
 7   analysis, including careful and time-consuming deliberations among Debtor’s restructuring
 8   counsel and advisors, Debtor reasonably concluded that DIP Lender’s proposal was the best, if
 9   not the only, alternative available to Debtor. Accordingly, Debtor has concluded in its business
10   judgment that the DIP Facility is the most favorable for its estate.
11            Consequently, Debtor’s efforts in this regard satisfy the statutory requirements of
12   § 364(c). The proposed terms of the DIP Facility are fair, reasonable and adequate in that these
13   terms neither tilt the conduct of this case nor prejudice the powers and rights the Bankruptcy
14   Code confers for the benefit of all creditors. The purpose of the DIP Facility is to enable Debtor
15   to maintain the stability of its operations during its chapter 11 case. See In re First South Savings
16   Assoc., 820 F.2d 700, 710-15 (5th Cir., 1987); In re Tenney Village Co., 104 B.R. 562, 568-69
17   (Bankr. D.N.H. 1989).
18            With access to the DIP Facility, which includes immediate access of up to $810,954
19   pending entry of the Final Order, and subsequent access up to an additional $1,689,046 (a total
20   of up to $2.5 million), Debtor is confident that it can maintain the stability of its operations
21   during the remainder of its chapter 11 case. In reaching this conclusion, Debtor believes that
22   the market generally, and vendors and customers specifically, often respond favorably to
23   approval of a comprehensive debtor-in-possession financing package. Debtor’s ability to
24   achieve its goals depends on unimpeded operations and the continued generation at the targeted
25   levels of cash flow requiring access to working capital.
26            As described above, after appropriate investigation and analysis, Debtor has concluded
27   the DIP Facility is the best alternative available under the circumstances. Bankruptcy courts


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 1   routinely defer to Debtor’s business judgment on most business decisions, including the
 2   decision to borrow money. See Group of Institutional Investors vs. Chicago Mil. St. & Pac. Ry.,
 3   318 U.S. 523, 550 (1943); In re Simasko Prod. Co., 47 B.R. 444, 449 (D. Colo., 1985) (business
 4   judgment should be left to the board room and not to the bankruptcy court); In re Lifeguard
 5   Industries, Inc., 37 B.R. 3, 17 (Bankr. S.D. Ohio, 1983). More exacting scrutiny would slow
 6   the administration of Debtor’s estate and increase its costs, interfere with the Bankruptcy
 7   Code’s provisions for private control of administration of the estates, and threaten the Court’s
 8   ability to control a case impartially. Richmond Leasing Co. v. Capital Bank, N.A., 762 F.2d
 9   1303, 1311 (5th Cir. 1985).
10          In general, a bankruptcy court should defer to a debtor’s business judgment regarding
11   the need for and the proposed use of funds, unless such decision is arbitrary and capricious. In
12   re Curlew Valley Assoc., 14 B.R. 507, 511-13 (Bankr. D. Utah, 1981) (courts generally will not
13   second guess a debtor’s business decision when those decisions involve a business judgment
14   made in good faith, upon a reasonable basis, and within the scope of authority granted under
15   the Bankruptcy Code); Curlew Valley, 114 B.R. at 513-14. Debtor has exercised sound business
16   judgment seeking advice from its restructuring advisors in determining that the DIP Facility is
17   appropriate, and has satisfied the legal prerequisites to borrow under the DIP Facility. The terms
18   of the DIP Facility are fair and reasonable and are in the best interest of its estate. And, the
19   interests of any secured creditors being primed by the DIP Facility are being consented to or
20   otherwise are adequately protected. Accordingly, under Bankruptcy Code §364(d), Debtor
21   should be granted authority to enter into the DIP Facility and to borrow funds from DIP Lender
22   on the basis described above. Absent the relief requested, Debtor and its estate will suffer
23   immediate and irreparable harm.
24      C. REQUEST FOR DIP LENDER § 364(e) PROTECTIONS
25          Section 364(e) of the Bankruptcy Code protects a good-faith lender’s right to collect on
26   loans extended to a debtor, and its right in any lien securing those loans, even if the authority
27   of Debtor to obtain such loans or grant such liens is later reversed or modified on appeal.


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 1   Section 364(e) of the Bankruptcy Code provides that:
 2          The reversal or modification on appeal of an authorization under this section [364
            of the Bankruptcy Code] to obtain credit or incur debt, or of a grant under this
 3          section of a priority or a lien, does not affect the validity of any debt so incurred, or
            any priority or lien so granted, to an entity that extended such credit in good faith,
 4          whether or not such entity knew of the pendency of the appeal, unless such
            authorization and the incurring of such debt, or the granting of such priority or lien,
 5          were stayed pending appeal.
 6          As explained herein and in the Bendor Declaration, the DIP Facility as proposed is the
 7   result of: (a) Debtor’s reasonable and informed determination that the DIP Lender provided
 8   the best postpetition financing alternative available under the circumstances, and (b) arm’s
 9   length, good-faith negotiations between Debtor and the DIP Lender. Debtor submits that the
10   terms and conditions of the DIP Facility are reasonable under the circumstances, and the
11   proceeds of the DIP Loan will be used only for purposes that are permissible under the
12   Bankruptcy Code. Further, no consideration is being provided to any party to the DIP Loan
13   Documents other than as described herein.
14          Accordingly, the Court should find that the DIP Lender is a “good faith” lender within
15   the meaning of sections 363(m) and 364(e) of the Bankruptcy Code and are entitled to all of
16   the protections afforded by that section.
17      D. REQUEST FOR FINAL HEARING
18          Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), Debtor requests that the Court
19   set a date for the Final Hearing that is as soon as practicable, and in no event after 35 days after
20   the Petition Date, and fix the time and date prior to the Final Hearing for parties to file
21   objections to this motion.
22      E. REQUEST FOR WAIVER OF BANKRUTPCY RULES 6004(a) AND 6004(h)
23          To implement the foregoing successfully, Debtor seeks a waiver of the notice
24   requirements under Bankruptcy Rule 6004(a) and the 14-day stay of an order authorizing the
25   use, sale, or lease of property under Bankruptcy Rule 6004(h).
26

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 1                                                NOTICE
 2          Debtor will provide notice of this motion to: (a) the U.S. Trustee for the District of
 3   Arizona; (b) the holders of the 30 largest unsecured claims against Debtor; (c) counsel to the
 4   Prepetition Lien Creditors; (d) counsel to the proposed DIP Lender; (f) the Internal Revenue
 5   Service; (g) the Arizona Department of Revenue; (h) any creditor known to have filed a UCC-
 6   1 financing statement concerning Debtor’s assets as of the Petition Date; and (i) any party that
 7   has requested notice pursuant to Bankruptcy Rule 2002. In light of the nature of the relief
 8   requested, Debtor submits that no other or further notice is needed.
 9          WHEREFORE, Debtor respectfully requests the entry of an interim order in the form
10   attached hereto as Exhibit A, granting, among other things, the following relief:
11          A.      Authorizing Debtor to obtain on an interim basis, postpetition financing in the
12   amount of $810,954, pending the Final Hearing;
13          B.      Authorizing Debtor to obtain, on a final basis, up to $2.5 million of postpetition
14   financing under the DIP Facility;
15          C.      Granting to DIP Lender an allowed super-priority administrative expense claim
16   for the DIP Facility and DIP Obligations, subject only to the Carve-Out;
17          D.      Granting to DIP Lender automatically perfected senior security interests in and
18   liens on all of the DIP Collateral (as defined herein), including, without limitation, all cash
19   collateral, subject only to the Carve-Out;
20          E.      Scheduling a Final Hearing to consider the relief requested in the DIP Motion and
21   approving the form of notice with respect to the Final Hearing;
22          F.      Waiving the fourteen (14) day stay provisions of Federal Rule of Bankruptcy
23   Procedure 6004(h); and
24          G.      Granting Debtor such other and further relief as the Court deems just and
25   appropriate.
26   ///
27   ///


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 1         RESPECTFULLY SUBMITTED this 10th day of January, 2022.
 2                                              ENGELMAN BERGER, P.C.
 3
                                                By /s/ Patrick A. Clisham
 4                                                 Patrick A. Clisham
                                                   2800 North Central Avenue, Suite 1200
 5                                                 Phoenix, Arizona 85004
                                                   Proposed Attorneys for GPMI Co.
 6
     COPY of the foregoing transmitted
 7   via the Court’s ECF system, and
     as indicated this 10th day of January,
 8   2022, to the following parties:
 9   OFFICE OF THE U.S. TRUSTEE
     Attn: Larry L. Watson
10   Via Email: Larry.Watson@usdoj.gov
11   Secured Creditors and Other Interested
     Parties:
12
     Factors Southwest, LLC
13   aka FSW Funding
     Attn: Robyn Barrett
14   Via Email: robyn@fswfunding.com
15   Andrew Harnish
     May Potenza Baran & Gillespie
16   Counsel for FSW Funding
     Via Email: aharnish@maypotenza.com
17
     Jack Gantz Irrevocable Trust No. 2
18    Dated February 16, 1988
     Attn: Joseph Gantz
19   Via Email: joegantz1@gmail.com
20   Michael W. Carmel
     Counsel for Jack Gantz Irrevocable Trust
21   No. 2
     Via Email: michael@mcarmellaw.com
22
     Lancelot Holdings LLC
23   Attn: Randy Krisch
     Via Email: randy@lancelotholdings.com
24
     Andy Abraham
25   Burch & Cracchiolo, PA
     Counsel for Lancelot Holdings, LLC
26   Via Email: aabraham@bcattorneys.com
27



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 1   HYG Financial Services
     Attn: Shannon Mohrfeld, Vendor Financial
 2   Services
     Via Email:
 3   Shannon.c.mohrfeld@leasingmail.com
 4   International Financial Services Corp.
     Via Facsimile: 847.549.0119
 5   and Via Email: info@ifsc.com
 6   IOU Central Inc.
     Attn: Phil Bishop, Collections Manager
 7   Via Email: pbishop@ioufinancial.com
 8   NFS Leasing, Inc.
     Attn: Mark Blaisdell, Sr. Advisor
 9   Via Facsimile: 866.805.3667
     and Via Email: info@nfsleasing.com
10
     List of Twenty Largest Unsecured Creditors:
11
     Eastern Shipping Worldwide
12   185 Hansen Court
     Wood Dale, IL 60191
13   c/o Andrew D. Kehagiaras, Esq.
     Via Email: adk@tradeandcargo.com
14
     Fibertex Nonwovens Inc.
15   Attn: Alan Zenner
     100 Iso Pkwy
16   Gray Court, SC 29645
     Via Email: alze@fibertex.com
17
     Scandia Plastics , LLC
18   Attn: Gary W. Lipkin
     220 Laurel Road, No. 201
19   Attn CFO
     Voorhees, NJ 08043
20   Via Email: glipkin@eckertseamans.com
21   Web-Pro Corp.
     No. 4 Uim-Kon 3rd Road Yun-An Ste E-
22   261
     Kaohsing Taiwan 82841
23   Via Facsimile: +84 02513683100
24   West Bent Packaging dba Comar
     Attn: Tom Nelson
25   P.O. Box 937
     West Bend, WI 53095
26   Via Email: nelsont@comar.com
27



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 1   Schoeneck Containers Inc.
     Attn: Lissa Ewing
 2   2160 S. 170th St.
     New Berlin, WI 53151
 3   Via Email: lewing@schoeneck.com
 4   BOK Financial
     Attn: Brian Barry
 5   16767 N. Perimeter Dr., No. 200
     Scottsdale, AZ 85260
 6   Via Email: bbarry@bokf.com
 7   CH Robinson Worldwide Inc.
     Attn: Eric Saxton
 8   P.O. Box 88656
     Chicago, IL 60680-1656
 9   Via Email: eric.saxton@chrobinson.com
10   Kleen Test Products Corp.
     Attn: Don Bauer
11   1611 Sunset Road, No. 209
     Port Washington, WI 53074
12   Via Email: dbauer@kleentest.com
13   Ameritemps AZ LLC
     Attn: Kathy Watzke
14   6100 Rockside Woods Blvd.
     Suite 250
15   Independence, OH 44131-2341
     Via Email:
16   kathyameritemps@hotmail.com
17   Hangzhou Bonyee Daily Necessity Tech Co
     No. 16 Hongda Rd., Yuhang Economic
18   Devel
     Province 311102 Hangzhou City
19   Zhjiang China
     Via Email: jiangym@nbond.cn
20
     Total Quality Logistics LLC
21   Attn: Cheri Calvert
     4289 Ivy Pointe Blvd.
22   Cincinnati, OH 45245
     Via Email: ccalvert@tql.com
23
     Bjerk Builders Inc.
24   Attn: Scott Bjerk
     1383 N. Tech Blvd., No. 101
25   Gilbert, AZ 85233
     Via Email: Scott@bjerkbuilders.com
26

27



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 1   Stepan Company
     Attn: Wayne Molley
 2   22 W. Frontage Road
     Winnetka, IL 60093
 3   Via Email: wmolley@stepan.com
 4   Fort Dearborn Co.
     Attn: Nicholas Martisek
 5   P.O. Box 74008096
     Chicago, IL 60674-8096
 6   Via Email:
     nmartisek@fortdearborn.com
 7
     Arizona Corrugated Container
 8   Attn: David Lewandowski
     225 S. Dobson Avenue
 9   Mesa, AZ 85202
     Via Email: davidl@tucsoncontainer.com
10
     Changxing Kingke Import & Export Ltd
11   New Century Industrial Park
     Lijiaxiang Town, Changxing Cnty
12   Huzhou, Zhejiang China
     Via Facsimile: +86 572.6230999
13
     Rebel Converting
14   Attn: Michael Kryshak
     700 N. Progress Drive
15   Saukville, WI 53080
     Via Email: mike@rebelconverting.com
16
     Interstate Packaging Group Inc.
17   Attn: Jim Combe
     8828 S. Hardy Dr., Ste. 105
18   Tempe, AZ 85284
     Via Email: jcombe@intpkg.com
19
     Asialinx Paper Ltd. dba Softech
20   2591 Hunan Hwy
     Bldg 1, Rm 602
21   Shanghai China
     Via Facsimile: +86 21.2098531
22

23   By: /s/Cindy K. Solomon, CP
            Cindy K. Solomon, CP
24

25

26

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